March 20, 2007


Mr. Kurt Howard Kuhn
Brown McCarroll, L.L.P.
111 Congress Avenue, Suite 1400
Austin, TX 78701


Ms. Laura A. Frase
Forman Perry Watkins Krutz &amp; Tardy, LLP
2001 Bryan St., Suite 1300
Dallas, TX 75201


Mr. Charles S. Siegel
Waters &amp; Kraus, LLP
3219 McKinney Avenue, Suite 3000
Dallas, TX 75204
Mr. Robert B. Gilbreath
Hawkins, Parnell &amp; Thackston, LLP
Highland Park Place
4514 Cole Avenue, Suite 500
Dallas, TX 75205

Honorable Mark D. Davidson
11th District Court
301 Fannin Street, Room 211
Houston, TX 77002

RE:   Case Number:  07-0195
      Court of Appeals Number:  01-06-01105-CV
      Trial Court Number:  2006-22116

Style:      IN RE  GENERAL ELECTRIC COMPANY, ET AL.

Dear Counsel:

      Today the Supreme Court of Texas  granted  the  Motion  for  Temporary
Relief and issued the enclosed stay  order  in  the  above-referenced  case.
The Motion for Leave to Exceed Page Limit for  Response  Brief  is  granted.
The petition for  writ  of  mandamus  remains  pending  before  this  Court.
(Justice O'Neil not sitting)
      Pursuant to Tex. R. App. P. 55.1, you are requested to file  expedited
briefs on the merits in the above-styled case.   Please  refer  to  Tex.  R.
App. P. 55 for the requirements of relators' and real  parties  in  interest
briefs.  Please note that any party  may  elect  to  rely  upon  the  briefs
already on file with this Court by  notifying  this  office  in  writing  no
later than the due date of the brief.  If you elect to  rely  upon  a  brief
filed with  the  court  of  appeals,  you  must  provide  twelve  copies  in
accordance with Tex. R. App.  P.  9.3(b).   The  filing  of  a  notification
letter shall invoke the same timetable  as  the  filing  of  a  brief.   The
petition for writ of  mandamus  has  not  been  granted  and  remains  under
consideration by the Court.
      The expedited briefing schedule is outlined below.  See Tex.  R.  App.
P. 55.7.  Please note that Tex. R. App.  P.  9.2(b)  does  not  apply.   All
briefs are due to be filed in this office on or before 3:00 p.m. on the  due
date:
      Relator/s shall file their brief within fifteen days of this  date  on
      or before April 4, 2007.


      Real party/parties in interest shall  file  their  response  brief  no
      later than April 16, 2007.


      Relator/s shall file any reply brief no later than April 24, 2007.


      Additionally, the Court requests that parties submit  a  copy  of  all
briefs on the merits (including amicus and post-submission briefs)  and  the
respective petitions, responses, and replies - already  on  file  with  this
Court- in electronic form within ten (10) days of the date of  this  letter.
Also, please submit an electronic copy when filing the hard  copies  of  any
brief.  Please see the enclosed information for guidelines.

                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk

Enclosures

|cc:|Mr. Charles Bacarisse  |
|   |Ms. M. Karinne         |
|   |McCullough             |
|   |Mr. Gary D. Elliston   |
|   |Mr. Greg T. Kinskey    |
|   |Ms. Maria Katina Karos |
|   |Mr. Greg White         |
|   |Mr. Michael John       |
|   |Ramirez                |

                           SUPREME COURT OF TEXAS

              INFORMATION ON SUBMISSION OF ELECTRONIC BRIEFING

      In order to provide convenient access to briefs filed with the Supreme
Court of Texas, the Court posts electronic copies of briefs on  its  website
when it requests briefs on the merits.  The Court requests that the  parties
submit an electronic copy of all briefs on the merits (including amicus  and
post-submission briefs) as well as the respective petitions, responses,  and
replies that are already on file.

      The Court asks the parties to comply  with  the  following  guidelines
when submitting eBriefs:

        1. The Court prefers the use of searchable PDF files because  files
           in this format generally may not be altered.  If this format  is
           not available to you, please use either Microsoft  Word  (up  to
           Word 2003/XP versions) or WordPerfect (versions 7 through  X3). 
           Documents  submitted  as  Word/WordPerfect  documents  will   be
           converted to searchable PDFs by the Clerk's office.


        2. All eBriefs should be submitted either by email attachment or on
           a CD.

           NOTE: If you are emailing  the  eBrief  and  the  file  size  is
           greater than 5 MB, you will need to separate the  document  into
           different  files  and  email  each  file  individually.   Please
           identify each file clearly  by  labeling  the  individual  parts
           (e.g. Appendix Part 1, Appendix Part 2, etc.).


        3. Each email subject line or CD  must  include  information  or  a
           label which identifies the case style and the case  number.   In
           addition,  a  Certificate  of  Compliance  must  accompany   the
           submission of  all  eBriefs.   A  copy  of  the  Certificate  of
           Compliance is included with this  letter.   The  Certificate  of
           Compliance is also available in both Word and PDF format on  the
           Supreme             Court's              Website              at
           http://www.supreme.courts.state.tx.us/ebriefs/ebriefs.asp.


        4. The email attachment or CD must contain only an electronic  copy
           of the submitted filing. The email attachment  or  CD  must  not
           contain any document or material that is  not  included  in  the
           original hard copy of the filing with the Court.


        5. The email attachment or CD must be free of viruses or any  other
           files that would be disruptive to the Court's computer system.

        6. You may submit the eBrief(s)  as  an  email  attachment  to  the
           following  email  address:  scebriefs@courts.state.tx.us   Email
           attachments must not exceed 5 megabytes.
                      EBRIEF CERTIFICATE OF COMPLIANCE

      At the request of the Supreme Court of  Texas,  I  certify  that  this
submitted computer CD  or  email  attachment  complies  with  the  following
requests of the Court:


   1. 1.    Information for eBrief(s) being submitted:

        1. a.    Case Style: _____________________________________________
        2. b.    Case Number: ___________________________________________
        3. c.    Type of Brief(s) (i.e. petition for review, response,
           reply, petitioner's brief, respondent's brief, brief in reply,
           amicus brief):
           _____________________________________________________________
        4. _____________________________________________________________
        5. _____________________________________________________________
        6. d.    The Word Processing Software and Version Used  to  prepare
           the                                                   eBrief(s):
           __________________________________________________
        7.
        1. 2.    This CD or email attachment contains  only  an  electronic
           copy of the original document  which  was  filed  in  the  Texas
           Supreme Court Clerk's office and does not contain  any  document
           or portion thereof that is not included in the original filing.
        1.
        2. 3.    The electronic brief is free of viruses or any other files
           that would be disruptive to the  Court's  computer  system.  The
           following software, if any, was used to  ensure  the  filing  is
           virus-free: _________________________________.
        1.
        2. 4.    I understand that the attached eBrief(s) will be posted on
           the Court's web site.

PLEASE NOTE: The submission of a brief in electronic format (eBrief) is  not
considered a filing in this Court. All  eBriefs  submitted  must  have  been
previously filed in compliance with the Texas Rules of Appellate  Procedure.


_________________________________
(Signature of filing party and date)
________________________________
(Printed name)
_________________________________
(Firm)


